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 1 Cyrus M. Sanai, SB#150387
   SANAIS
 2 433 North Camden Drive
   Suite 600
 3 Beverly Hills, California, 90210
   Telephone: (310) 717-9840
 4 cyrus@sanaislaw.com
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 6
 7
 8      UNITED STATES DISTRICT COURT OF THE CENTRAL DISTRICT OF CALIFORNIA

 9
     CYRUS SANAI, an individual            )    Case No.: CV 18-2136
10                                         )
                         Plaintiff,        )
11         vs.                             )    COMPLAINT FOR:
                                           )
12   D. JOSHUA STAUB, an individual;       )    (1) RELIEF UNDER 42 U.S.C. §1983;
     FREDERICK BENNETT, an individual; PHU )    (2) DECLARATORY JUDGMENT
13   CAM NGUYEN, an individual;            )
     CHRISTOPHER MCINTIRE, an individual   )
14   and DOES 1 through 10, inclusive,     )
                                           )    JURY DEMAND
15                       Defendants.       )
                                           )
16                                         )
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                                      COMPLAINT
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 3   Plaintiff Cyrus Sanai hereby alleges as follows:

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 5                                            JURISDICTION

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            1.      This Court has jurisdiction pursuant to 28 USC §1331. Venue is proper in this
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     district and Division because the Plaintiff and all Defendants identified below are residents of Los
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     Angeles County or Riverside County.
 9

10                                            THE PARTIES
11          2.      Plaintiff, CYRUS SANAI ("Sanai"), is an attorney admitted to practice in
12   California and various federal courts who resides in the County of Los Angeles, State of
13   California.
14          3.      Defendant, D. JOSHUA STAUB (“STAUB”), is an attorney who resides in the
15   County of Los Angeles, State of California. He has been appointed as special prosecutor in the
16   case of United Grand Corporation v. Malibu Hillbillies, BC554172 (“UGC”). Prior to his
17   appointment, he represented defendants Marcie Stollof and Malibu Hillbillies in UGC. He
18   successfully moved to be relieved as counsel when, Plaintiff alleges on information and belief, his
19   clients objected to his secret engagement on behalf of BENNETT to attack Plaintiff.
20          4.      Defendant, FREDERICK BENNETT (“BENNETT”), is an attorney who is the lead
21   “Court Counsel” for the Los Angeles County Superior Court. He lives and works in the County of
22   Los Angeles, State of California. He represents and has represented current judges of the Superior
23   Court and a judge who was elevated to the Court of Appeals, Elizabeth Grimes (“Grimes.”)
24   Defendant, PHU CAM NGUYEN, (“NGUYEN”), is a Court Counsel who has since 2015 been
25   assigned some of the duties of BENNETT.
26          5.      Defendant CHRISTOPER A. MCINTIRE (“MCINTIRE”) is an attorney who has
27   been engaged to represent the Los Angeles County Superior Court and Grimes in UGC for
28   purposes of opposing any efforts to have them provide documents or testimony. He resides in
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     Riverside County and works for the Riverside County law firm Cummings, McClorey, Davis,
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     Acho & Associates.
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                                            COMMON ALLEGATIONS
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            6.      On or about 1999 the Los Angeles County Superior Court created a new internal
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     division, “Court Counsel.” Prior to 1999 the legal needs of the Los Angeles County Superior
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     Court were met by the Los Angeles County Counsel. One of the primary duties of the Los
 8   Angeles County Counsel was defending the Los Angeles County Sherriff’s departments from
 9   lawsuits in state and federal court arising from violation of civil rights and outright criminal
10   conduct. In 1998, Lee Baca, a corrupt leader in the Sherriff’s department, was elected Los
11   Angeles County Sheriff. The County Counsel’s office was, throughout the four terms to which
12   Baca was elected, a critical facilitator of the organized crime operation which Baca created within,
13   and which controlled, the Sherriff’s department. Certain judges of the Los Angeles County
14   Superior Court who had been previously employed in the County Counsel’s office realized that
15   the simultaneous representation of the Court by the same attorneys who defended the conduct of
16   Baca and his lieutenants from criminal and civil investigations and lawsuits would entangle the
17   Superior Court in Baca’s corrupt conduct. These same judges also believed that continued use of
18   the same counsel made the Superior Court vulnerable to the exercise of pressure from Baca’s
19   office, and if Baca were ever exposed and criminally prosecuted, might result in Baca trading
20   knowledge of misconduct in the Superior Court for leniency.
21          7.      The first “Court Counsel” hired was defendant BENNETT. Once the authority to
22   set up a separate legal function within the Superior Court was approved, the same cabal of judges
23   created two other functions for his office that County Counsel had never performed. The first
24   function was to completely centralize the disposition of all motions for disqualification with
25   BENNETT. He became the internal arbiter of whether or not a trial court judge was required to
26   disqualify himself or herself under the peremptory and for-cause procedures set forth in Cal. Code
27   Civ. Proc. §170.1-6. If a disqualification statement for cause were presented, BENNETT was
28   originally directed to appear as counsel for the judge and fight the motion. After Plaintiff
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     challenged that practice, BENNETT would ghost write standard responses. The second function
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     of the office was to designate and track individuals and entities which challenged the conduct of
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     the judges of the Court or who embarrassed the judges of the Court by reversing trial court judges
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     repeatedly in the same or related cases or successfully disqualified the judges for cause. The
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     responsibility of Court Counsel to handle “vexatious or difficult” litigants is part of the official
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     description of the job.
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            8.      Court counsel are technically self-employed lawyers who bill for time as inside-
 8   outside counsel. Where necessary Court Counsel will hire law firms to represent the interests of
 9   the Superior Court. Much of this work is typical legal work for any governmental entity.
10   However, the Superior Court will, when its interests in a case are threatened, engage counsel to
11   tell the Superior Court judge what to rule. Defendant MCINTIRE is one of such counsel.
12          9.      When a litigant or a lawyer is identified as a “vexatious or difficult” litigant or
13   lawyer, Court Counsel will open up a file and monitor the activities of such litigant or lawyer, with
14   the aim of ensuring that the litigant or lawyer does not succeed in any cause brought before the
15   Superior Court, and to look for opportunities to designate the litigant as a “vexatious litigant”
16   formally or informally, or to concoct fake charges of litigation misconduct to impose punitive
17   measures on them. This practice includes contacting and coordinating with lawyers in private
18   practice and who represent government entities to jointly attack targeted lawyers and litigants.
19          10.     The primary ground for designation as a “difficult” litigant or lawyer are to (1)
20   bring repeated disqualification motions against a judge or judges for cause; (2) obtain a reversal of
21   a Superior Court judge which humiliates the judge, impairs the judge’s record for purposes of
22   elevation to a different court, or results in a referral to California Judicial Performance
23   Commission; (3) disqualify a judge for cause at the appellate level; or (4) oppose the appointment
24   of any sitting Los Angeles County Superior Court judge to a different position. If a litigant or
25   lawyer successfully removes a judge for cause at the appellate level, such litigant or lawyer is
26   branded as a “Special Case” and is the subject of regular strategizing meetings within the Superior
27   Court to search for opportunities to injure or obstruct the abilities of a Special Case to conduct
28   litigation in the Superior Court.
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            11.     In order to impose punitive measures on a Special Case or ordinary “difficult”
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     litigant or lawyer, the Court Counsel must act through judges and commissioners who are assigned
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     cases involving such targets. Of the approximately five hundred judicial officers in the Los
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     Angeles County Superior Court, a significant minority will never cooperate with punitive
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     measures, and a majority cannot be trusted to take measures such a falsifying the judicial record or
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     coercing Court Clerks to cooperate. However, none of the Superior Court judges will actively
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     interfere with the exercise of the Court Counsel’s powers due to the peculiar authority of the Los
 8   Angeles County Superior Court administration over judges livelihoods and working conditions.
 9          12.     Unlike a federal district court, where the working conditions and duties of federal
10   court judges are largely the same, the day to day job of a Los Angeles County Superior Court
11   judge or commissioner can be vastly different. First, the locations of courthouses throughout the
12   County of Los Angeles means that depending on the assignment, a judgment may have a daily
13   commute of less than 30 minutes to over three hours.    Second, Superior Court judges can have
14   assignments that constitute literally different jobs. Some judges only handle criminal trials; others
15   handle only criminal motions; others handle only civil motions; some handle civil cases as
16   independent calendar judges and deal with all pre-trial and trial matters; several judges only
17   handle unlawful detainers; some judges handle only small claims; all family court matters are
18   handled by special family court judges; all probate matters are assigned to specific probate judges.
19   Of the various assignment, three are deemed to be especially desirable: independent calendar civil
20   assignment; settlement judge assignment; and assignment to the Appellate Division. Any judge
21   who obtains one of these three assignments can expect to retire and move on to a lucrative career
22   as an arbitrator or mediator. For this reason assignment to these particular calendars is deemed to
23   be a prize, and satisfying the demand to be assigned to these positions is how judges obtain the
24   votes to become assistant presiding, and then presiding judges. Judges who are disfavored or who
25   are viewed as not cooperative can be assigned to departments such as traffic court or small claims
26   which are universally viewed as punishment.
27          13.     The culture of the Los Angeles County Superior Court has another major difference
28   from federal courts. More than half of the judges previously worked as prosecutors or for county
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     counsel or as counsel for any of cities in Los Angeles. Because of the endemic corruption that
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     plagues the Los Angeles County Sheriffs Department and the polices forces of the various cities
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     (most notably the City of Los Angeles), the judges who previously worked in such jobs view civic
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     corruption as an ordinary feature of government that is impossible and undesirable to eliminate.
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     As for appellate oversight, unlike every other appellate court in the state, the judges from court
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     which oversees the Los Angeles County Superior Court, Divisions 1 through 5 and 7-8 of the
 7
     Second Appellate District, were with one exception previously judges in the Los Angeles County
 8   Superior Court.
 9          14.     Grimes entered the legal profession as an attorney for Gibson Dunn & Crutcher.
10   She married a partner, Ron Toews, while an associate. Toews left the firm in 1985 and became a
11   wealthy developer and operator of apartment buildings. Grimes had no client base, but she was
12   made a partner after ten years. As a “service partner” she was assigned primarily to work on
13   Gibson’s practice before the California New Motor Vehicle Board, which regulates disputes
14   between car and vehicle dealers and manufacturers that grant dealerships. Though possessed of a
15   sterling academic record and a facile writer, Grimes had one prominent defect as an attorney (and
16   later) judge: she would, when analyzing case law, repeatedly focus on portions of legal decisions
17   that stated the legal principle she wanted to argue applied, without ever reading the rest of the
18   decision. She thus could make spectacular legal blunders by citing legal opinions that actually
19   held the OPPOSITE of what she was trying to convince a court to rule.       In a case involving
20   Nissan, one of Grimes’ legal briefs cited a case for a proposition that held the opposite of what it
21   actually said—as she failed to bother to read the portion of the decision applying an exception to
22   the rule she quoted—and as a result Nissan lost a critical proceeding and fired Gibson Dunn.
23          15.     The outcome of this debacle was that the Gibson Dunn management elected to try
24   to find Grimes a soft landing, rather than firing her outright. The considerable resources of the
25   firm were devoted to preparing her application for a position in the Los Angeles County Superior
26   Court. She was so appointed in 1997. She was initially given a criminal court assignment and
27   quickly developed a reputation as a shoot-from-the-hip judge wildly biased in favor of the
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     prosecution. As a criminal court judge and later a civil court judge, she was reversed on appeal at
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     double the average rate for California trial court judges.
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             16.    In 1998 Plaintiff Cyrus Sanai, a graduate of Harvard College and UCLA Law
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     School, returned to the United States after a career working abroad as an attorney and English
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     solicitor. His first job was with a major California law firm that hired him in its Irvine California
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     office. Sanai obtained a lease at a complex in Newport Beach owned by an affiliate of The Irvine
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     Company. After expiration of his original lease, he accepted a new lease offer at a lower price
 8   than his original lease. The management of the complex attempted to renege on the lease, and
 9   Sanai stood on his deal. Unable to resolve the dispute, he left the complex and moved to Santa
10   Monica. The management company which operated the complex new that it could not sue Sanai,
11   so it decided to extort a payment by hiring the U.D. Registry, Inc. (“UDR”) , a company owned by
12   Harvey Saltz, his wife and his children to make a false credit report, using UDR’s own reporting
13   account, that Sanai owed UDR money and the the debt was “in collection.”
14           17.    After discovering that his credit had been slandered and failing to resolve the
15   matter with UDR’s president, Harvey Saltz, Sanai sued UDR in December 2000. UDR engaged
16   as its counsel one of its owners and Saltz’s son, Michael Saltz. The Saltz’s engaged in scorched
17   earth litigation tactics including three successive anti-SLAPP motions and multiple appeals. In the
18   18 years that the case has been litigated, UDR and its successors have spent millions because the
19   case posed the threat of destroying the consumer credit reporting system as it existed prior to
20   2000.
21           18.    The threat that Sanai’s lawsuit created was that it would (and in fact eventually did)
22   establish a rule that persons reporting consumer credit information to consumer credit reporting
23   agencies could be held liable under California law for making any inaccurate or incomplete
24   statement in the first instance. Under the federal law, persons who report false, inaccurate or
25   complete information have no liability; liability only attaches if a consumer complains to the
26   agency, and the agency does an improper investigation. However, if the person reporting
27   information to the agency lies or commits fraud, there is no effective recourse under the law,
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     because of pre-emption provisions which only exempt the California and Massachusetts consumer
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     reporting statutes.
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             18.    In the first round of the litigation, the original trial court judge assigned to the case,
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     denominated Sanai v. Saltz, BC235671, denied an anti-SLAPP motion but held that Sanai’s case
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     had no merit. The junior Saltz filed an appeal of the order denying the motion, then proceeded to
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     litigate the case on the merits even though he knew the matter was automatically stayed. The
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     reason he did this was because he knew that the original trial court judge, a David Horowitz,
 8   wanted to dismiss the case. However, the junior Saltz could not find the argument that would get
 9   the case dismissed. Eventually he filed a summary judgment motion while discovery matters were
10   ongoing and the judge dismissed the case using a rationale that, to this day, no one can explain and
11   which is utter gibberish. UDR never itself argued the “reason” stated by Horowitz. Horowitz
12   retired before judgment was entered and was replaced by Grimes.
13           19.    Sanai research Grimes’ background and discovered that she was co-owner of small
14   empire of apartment buidlings in Los Angeles developed by her husband, Ron Toews. She and
15   her husband had a direct financial interest in seeing Sanai’s lawsuit be dismissed, and indeed her
16   husband’s buildings used UDR’s services. Sanai filed a disqualification for cause statement in in
17   2003 against Grimes based on her financial interest, and the fact that her law firm had represented
18   a defendant that UDR has forced into the litigation, The Irvine Company. BENNETT formally
19   appeared in the litigation as attorney for Grimes and filed an opposition. The case was transferred
20   for determination in the Orange County Superior Court by Judge McEachen. The disqualification
21   statement that McEachen reviewed was not the disqualification statement filed by Sanai, but a
22   document fraudulent altered by the Superior Court clerk’s office under the supervision of
23   BENNETT. Judge McEachen denied the disqualification, making assertions about the contents of
24   the altered disqualification document that did not reflect the facts asserted and demonstrated by
25   Plaintiff.
26           21.    Grimes imposed six figure attorney fees against Sanai afgter allowing Saltz’s firm
27   relief from missing the deadline for filing. This ruling was based on Grimes’ hatred of Sanai. As
28   the Court of Appeal pointed out : “The trial court commented: “Plaintiff has proliferated needless,
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     baseless pleadings that now occupy about 15 volumes of Superior Court files, not to mention the
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     numerous briefs submitted in the course of the forays into the Court of Appeal and attempts to get
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     before the Supreme Court, and not one pleading appears to have had substantial merit. The
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     genesis of this lawsuit, and the unwarranted grief and expense it has spawned, are an outrage.””.
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     Sanai v. The U.D. Registry, Inc., B170618 February 16, 2005 Cal. App. 2 Dist. unpublish.) at 31
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     fn. 36. In this appeal, Justice Michael Perluss of Division 7 of the Second Appellate District took
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     apart Judge Grimes legal analysis step by step. In doing so, it mocked Grimes reflexive citation of
 8   cases that contradict her analysis: “The suggestion the holding in Sanabria v. Embrey, supra, 92
 9   Cal.App.4th 422, is limited to voluntary dismissals from which there is no right of appeal, and
10   therefore does not apply in this case because Mr. Sanai could appeal from the final orders of
11   dismissal entered in favor of the Irvine Entities, even if otherwise intelligible, is belied by the
12   analysis in Sanabria itself…..” Sanai v. The U.D. Registry, Inc., B170618 (February 16, 2005 Cal.
13   App. 2 Dist. unpublish.) at 18-19 fn 22.
14          22.     In the appeal addressing the final judgment, Sanai reversed every single ruling of
15   the trial court adverse to him. Sanai v. Saltz 2005 WL 151401 (Cal.App. 2 Dist). After again
16   quoting the language of Grimes, castigating Sanai, it disqualified Grimes in the interests of justice
17   under Code Civ. Proc.§170.1(c).
18          23.     After Sanai prevailed, he wrote a letter to Grimes dated June 29, 2005 demanding
19   that she retract and apologize for her statement castigating him, as Sanai knew it would be used
20   against him in other contexts.   Grimes was infuriated, not only because of her humiliation, but
21   also because she was in 2005 being evaluated by the Judicial Nomination Evaluation Commission
22   (the “JNE Commissio”) for elevation to the Court of Appeal.        In California the JNE Commission
23   issues letters to randomly selected attorneys asking for feedback on judicial nominees and
24   prepares a report. Grimes’ application received significant negative responses from defense
25   counsel who had appeared before her when she was assigned to criminal courts, and her
26   nomination was in serious trouble. The disqualification for cause made further progress on her
27   nomination impossible. Grimes demanded that Sanai be identified as a Special Caseby Court
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      Counsel and that full efforts be made to (1) prevent Sanai from succeeding in Sanai v. Saltz on
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      remand, and (2) to disbar or otherwise cripple Sanai as an attorney.
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              24.    BENNETT filed a bar complaint dated July 7, 2005, claiming, among other things,
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      that Judge Grimes was a “represented party” and that SANAI had violated professional
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      responsibility rules by contacting her ex parte without notice to him, as her counsel, or the other
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      side.
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              25.    A presiding judge who was a close friend of Grimes agreed to re-assign Sanai v.
  8   Saltz to a judge selected by Grimes. After conducting research, Grimes picked Terry Green.
  9   Terry Green was a former prosecutor who had prosecuted cases tainted by sheriff’s deputy
10    misconduct and by his violation of his prosecutorial Brady obligations. Just as important, Green’s
11    wife, Leslie Green, worked for a small law firm that counted a company which purchased the U.D.
12    Registry, Inc., as a client. Grimes and the presiding judges told Terry Green that if he and his wife
13    agreed to act as conduits of information and advice through oral communications, Grimes and her
14    husband, aided by the political connections of the judicial administration, would seek to have
15    Terry Green’s wife Lesley Green appointed as a judge.
16            26.    The California Bar Association investigated BENNETT’s first bar complaint and
17    found it frivolous and unsupported by the actual facts. At the instruction of Grimes and the
18    presiding judge at the time, BENNETT began looking for other grounds to file bar complaints
19    against Sanai. He contacted the junior Saltz, who put him in contact with an attorney, William
20    Gibbs, who was then litigating a family dispute against Sanai in Washington State. In an email
21    dated August 9, 2005, BENNETT acknowledged filing a bar complaint against Sanai on behalf of
22    Grimes and the Superior Court, and agreed to file go directly to the Chief Trial Counsel of the
23    California Bar Association to get Sanai disbarred. BENNETT directly contact the Chief Trial
24    Counsel, complained about the inaction on the first complaint, and attached his emails
25    correspondence with Gibbs. Contrary to California Court Rules, no notice of this action by the
26    Superior Court was given to Sanai and he would not learn about it until 2015. The Bar
27    Association ignored this illegal, secret report.
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             27.     Sanai was awarded costs by the Court of Appeal in Sanai v. Saltz and filed a
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      memorandum of appellate costs that the junior Saltz failed to timely attack. Saltz’s clients refused
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      to pay, so Sanai began enforcement proceedings, and then filed a memorandum of costs for
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      enforcement costs in 2006. This document was served by Express Mail on the senior Saltz and
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      Saltz’s clients as required under California’s Enforcement of Judgment Law. The junior Saltz was
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      forwarded a copy of the memorandum of costs with adequate time to file a motion to attack the
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      memorandum. Instead, he contacted BENNETT (either directly or through the Greens) and asked
  8   that the memorandum be quashed by the clerk. He was put in touch with the clerk and gave his
  9   directions—that the document should be quashed for failing to identify the agents for service of
10    process.
11           28.     Saltz then bragged about getting the clerk to reject the memorandum in a phone call
12    to Sanai. Sanai traveled to the Court and demanded to speak to the clerk. She told Sanai that she
13    had been instructed that she had to know the names of the agents for service of process for the
14    defendants other than Harvey Saltz. Sanai stated that he did not serve the documets, but because
15    he had signatures, he could state who actually received the packages. The clerk said that she
16    needed the agents for service of process. Sanai happened to know who those were. He was
17    provided with a piece of paper and he wrote them down. The clerk then entered judgment of the
18    costs in favor of Sanai.
19           29.     The junior Saltz soon discovered that his behind the scenes shenanigans had failed.
20    He gave Sanai ex parte notice of a motion, then sandbagged Sanai by providing a motion to strike
21    the memorandum of costs (but not vacate the judgment for costs) which was different from the
22    notice he gave. When Sanai appeared in Court, the Judge Terry Green had already read Saltz’s
23    papers and spoken with the clerk, which he acknowledged in open court statements captured by
24    court reporter. Judge Green then held an evidentiary hearing. Despite asking leading questions of
25    the clerk, she refused to state that she remembered the contents of the conversation or what
26    happened. Judge Green nonetheless struck the memorandum, without doing anything to the
27    judgment.
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             30.     Sanai forced Green to vacate the order based on a recording of Saltz’s notice. ON a
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      noticed motion Green sent the Sanai then enforced the judgment. Green found that the conduct of
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      Sanai was in bad faith and constituted illegal alteration of court records. Saltz brought motions to
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      force Sanai to acknowledge satisfaction of the judgment (the original amount which had then been
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      paid) and Sanai resisted.
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             31.      While this was ongoing Grimes continued to make embarrassingly inept rulings
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      that if properly attacked would continue to undermine her quest to be appointed to the Court of
  8   Appeal. In 2007 Terry Green was rewarded by the nomination of wife to the Superior Court to
  9   replace a trial court judge who resigned to accept a temporary appointment to the Court of Appeal
10    for purposes of affirming an erroneous judgment made by Grimes. Grimes was also appointed
11    temporarily to the Court of Appeal to give burnish her credentials at around that time.
12           32.     Judge Terry Green dismissed Sanai’s complaint without allowing discovery. His
13    order was reversed in a published case that affirmed that right of a consumer to sue under
14    California’s consumer credit reporting act for false, misleading, inaccurate or incomplete reports
15    to consumer credit reporting agencies. This case, along with a simultaneously decided federal
16    decision, resulted in wholesale changes in consumer credit reporting that continue to reverberate.
17           32.     Judge Terry Green was disqualified after his reversal and the case was moved to a
18    new judge sitting temporarily in 2009, as the Superior Court administration was not able to find a
19    judge to take more extreme measures against Sanai. Saltz filed a third anti-SLAPP motion, lost,
20    and then filed an appeal to the Court of Appeal.
21           33.     In 2010 Grimes was told that she would finally obtain nomination for an
22    appointment to the Court of Appeal. However, Grimes and BENNETT knew that Sanai would
23    oppose it and attack her judicial temperment. To head of this possibility, BENNETT gave Saltz
24    directions to file, in the Superior Court, a motion to have Sanai declared a vexatious litigant. The
25    motion would be directed to Debre Katz Weintraub. Weintraub was promised eventual elevation
26    to the presiding judgeship if she took the necessary steps to have Sanai declared a vexatious
27    litigant (she is now presiding judge for the Civil Judges). However, the junior Saltz botched the
28    timing of service of the motion, and served the document too late to be heard prior to the
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      announcement of Judge Grimes’ nomination. The junior Saltz went in ex parte demanding an
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      order shortening time for service without explaining the necessity for doing so. Sanai opposed the
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      motion on the grounds that the case was stayed and any such motion to have Sanai declared a
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      vexatious litigant had to be brought in the Court of Appeal. Weintraub granted the ex parte
  5
      motion, Sanai filed a petition for supersedeas which was granted and the vexatious litigant motion
  6
      was effectively denied. Sanai filed a motion to disqualify Weintraub, and she agreed to remove
  7
      herself.
  8              34.   While this was ongoing, Grimes’ nomination to the Court of Appeal was
  9   announced. Sanai filed an opposition with the Commission on Judicial Appointments including
10    an analysis showing that her reversal rate was DOUBLE the average in California. He also
11    attacked her judicial ethics and temperament based on her conduct in Sanai v. Saltz and her filing a
12    completely meritless bar complaint—at that time, Sanai only knew of the first complaint.
13               35.   BENNETT filed a response to the Commission on Judicial Appointments stating
14    that Judge Grimes had nothing to do with the complaint to the Bar Association, and that the
15    complaint had been solicited by the Chief Trial Counsel.       Sanai filed judicial misconduct
16    complaints against Green and Grimes, which were ignored.
17               36.   At this point Sanai’s disbarment became the top priority of the Court Counsel.
18    When Sanai again won the appeal and the case was remanded, it was assigned to judge Kevin
19    Brazile. Brazile was promised by the Superior Court administration that if he successfully took
20    down Sanai, he would be appointed presiding judge. Judge Brazile was, prior to his appointment,
21    Sheriff Lee Baca’s most skilled lawyer in the County Counsel’s office—indeed, he was given a
22    special award by Baca’s criminally corrupted deputy’s association when Brazile left the County
23    Counsel’s office to become a judge. Brazile, along with Baca’s personal counsel, Dalila Corral
24    Lyons, were responsible for keeping the criminal corruption in the Sheriff’s department under
25    wraps for the first decade of the millennium.
26               37.   Saltz was instructed to refile the motion to declare Sanai a vexatious litigant and it
27    was granted by Brazile. The Court of Appeal immediately stayed the order, and reversed it. Sanai
28    moved to disqualify Brazile, who consented to the motion. Judge Brazile’s consent to
                                                         -13-
                                                   COMPLAINT
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      disqualification was overturned by the Superior Court administration, and Judge Brazile was
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      instructed to dismiss the complaint. He did so as to some defendants, but was again overturned by
  3
      the Court of Appeal. Sanai again sought to disqualify Brazile, and this time the Court of Appeal
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      issued an alternative writ to do so. The Superior Court administration saw the writing on the wall,
  5
      and appointed Brazile as civil Presiding Judge and he is on his way to becoming Presiding Judge
  6
      for the entire court.
  7
              38.     Brazile appointed Judge Lyons to take his place. Judge Lyons refused to allow
  8   discovery concerning the time period during which BENNETT was communicating with Saltz.
  9   She dismissed the complaint, and that order is again on appeal.
10            39.     While proceedings were ongoing in the Superior Court, Judge Grimes had utilized
11    her contacts in the federal judiciary to cause Judge Alex Kozinski to attack Sanai in print in 2005.
12    Sanai filed misconduct complaint against Kozinski, pointing to his use of his private server to
13    distribute derogatory information about Sanai. Circuit Judge Schroeder, then the Chief Judge,
14    issued an order in 2006 finding that Kozinski did not have any private server. Sanai filed judicial
15    misconduct complaints against Kozinski and Schroeder, then discovered the pornography
16    directory of Judge Kozinski’s server while the Ninth Circuit Judicial Council was ignoring the
17    second judicial misconduct complaint. Sanai revealed this information to the Los Angeles Times
18    which printed an article. Kozinski filed a misconduct complaint against himself, which resulted in
19    a travesty of an investigation. Sanai filed additional misconduct complaints against Kozinski,
20    Schroeder, and other judges who were participating in related misconduct, including covering up
21    his distribution of pornography. The Ninth Circuit Judicial Council issued an order reprimanding
22    Sanai, then Circuit Executive Cathy Catterson put maximum pressure on the California Bar
23    Association to prosecute Sanai for misconduct.
24            40.     Jane Kim, the newly appointed Chief Trial Counsel, overruled prior Chief Trial
25    Counsel’s and instigated proceeding against Sanai as requested by the Ninth Circuit Judicial
26    Council and regarding Sanai v. Saltz. The Judicial Council refused to provide any records
27    concerning Sanai’s complaints and refused to allow anyone from the Court to testify. After
28    presentation of the Chief Trial Counsel’s case in 2014, in 2015 the California Bar Court dismissed
                                                       -14-
                                                 COMPLAINT
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      the charge, finding that to the extent that it could determine the contents of the misconduct
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      complaints filed by Sanai, they were clearly justified. As the world knows, Sanai’s additional
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      accusations against Kozinski which the Judicial Council refused to investigate were last year
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      confirmed by clerks and one other federal court judge, and Kozinski resigned in disgrace.
  5
             41.     Sanai was also tried regarding his conduct regarding the memoranda of costs. The
  6
      clerk whose testimony was found by Judge Green to support a finding of tampering with the
  7
      judicial records was called as a prosecution witness and she completely recanted her testimony,
  8   denying that any of the events which she testified had occurred between Sanai and her had actually
  9   occurred, and further stating she could not remember what had occurred. She added as well that
10    she would never have acted as Judge Green had maintained she did. This contradicted interview
11    notes of the State Bar made some months earlier. Sanai was acquitted on that charge.
12           42.     There is only one remaining charge, relating to Sanai’s enforcement of the
13    judgment for costs. Further prosecution of that charge was stayed by the State Bar Court in case
14    Sanai succeeded in overturning that ruling by other means.
15           43.     As of 2015, Court Counsel had completely failed to disbar Sanai, and the State Bar
16    proceedings, if resumed, threatened to expose the entire decade long conspiracy to punish Sanai
17    for his conduct toward Grimes.
18           44.     Court Counsel then focused on a lawsuit where Sanai is acting as an attorney,
19    UGC, as the next avenue to force Sanai’s destruction. This case was selected because the
20    appellate proceedings were directed to Division 8 at which Judge Grimes sits. This case was a
21    collection case for a defaulted commercial lease. When the original trial court judge retired, she
22    was replaced by Judge Brazile (now presiding judge) with Judge David Sotelo, a former
23    prosecutor utterly ignorant of civil or business law. Though Judge Sotelo is absolutely
24    incompetent in matters of civil law, he was promised a transfer to the civil department so long as
25    he took all steps necessary to have Sanai punished by sanctions or jail. Together he worked with
26    Judge Mark Borenstein to craft a plan. The plan was to impose sanctions against Sanai for
27    allegedly filing a motion that, in fact, he never filed; bar the staying of such order while it was on
28    appeal, and then prosecute Sanai for contempt. The defendant’s lawyer, STAUB, was solicited for
                                                        -15-
                                                  COMPLAINT
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      this task. Judge Borenstein, on his own motion, imposed sanctions in February of 2016, $3,600 to
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      Staub and $1,000 to the Court for allegedly including in an ex parte motion for a stay (which was
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      granted) a request for sanctions that was unsupported by any arguments or showings of law. The
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      ex parte motion did indeed lack any arguments or factual showing, because the notice of motion,
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      the motion itself, the memorandum of points and authorities, and the declaration were silent as to
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      any request for sanctions. The amount imposed totaled less than $5,000; any award greater than
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      $5,000 is directly appealable. California law bars awarding sanctions or other relief to non-
  8   parties—by published case law, any sanctions must be awarded for the benefit of the client.
  9   Nonetheless the sanctions were awarded to the benefit of STAUB.
10           45.     However, (on information and belief) STAUB’s clients objected to the UGC case
11    becoming controlled by BENNETT. STAUB filed a motion to be relieved as counsel. This meant
12    that STAUB was no longer counsel to the party, and he was not a party. California case law bars
13    STAUB from having any role in the proceedings once he is removed as counsel. In order to keep
14    him in the case, in December 2017 Judge Borenstein appointed STAUB as a special prosecutor to
15    charge Sanai with contempt in UGC.
16           46.     California case law provides that a party charged with contempt has all of the rights
17    of a criminal defendant, whether the contempt is civil or criminal, except that the right to jury trial
18    only applies if the potential penalty includes jail time of greater than six months. California law
19    also provides that a party charged with contempt may attack the validity of the order which the
20    defendant is charged with violating.
21           47.     In UGC Sanai has sought his Brady rights of disclosure of documents plus made
22    requests for disclosure of documents using the mechanisms of civil subpoena, criminal subpoena,
23    and mandatory discovery under the Penal Code. MCINTIRE was engaged by the Superior Court
24    and Judge Grimes to resist all such requests. As MCINTIRE represents the Superior Court and
25    one of the justices on the Court of Appeal, he is literally dictating the results of the motions.
26           48.     Sanai has sought the files of BENNETT and the non-public files of the Superior
27    Court and Judge Grimes related to UGC and facts identified above. The position of the Court, as
28    articulated by MCINTIRE are as follows:
                                                        -16-
                                                  COMPLAINT
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              A.       Determination of whether or not Justice Borenstein’s original ruling and continued
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                       adjudication of the case meet the minimum requirements of impartiality under
  3
                       California law and federal due process are not “appropriate” for this proceedings
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                       and cannot be raised.
  5
              B.       After originally arguing that Cal. Evidence Code §703.5 applied and barred judicial
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                       testimony (which testimony it concedes includes judicial statements in writing,
  7
                       whether public or private), the position has now switched and it is argued that Cal.
  8                    Evidence Code §703.5 does NOT apply and therefore no records can be disclosed
  9                    or testimony taken—no argument is made about the records or communications
10                     created by BENNETT or received by him.
11            C.       There are no discovery procedures which can require a Superior Court or a judge to
12                     provide documents or give testimony under California law.
13            49.      STAUB, who was appointed by Judge Borenstein as Special Prosecutor, refuses to
14    make any disclosures of information in his records under Brady or California’s statutory discovery
15    disclosure, which requires disclosure of real evidence “relevant to the matter.” STAUB denies
16    that there can be any exculpatory evidence because Sanai is obviously guilty. STAUB further
17    states that no trial at all should be made and that Plaintiff should be held in summary contempt.
18            50.      Trial is set for March 21, 2018.
19
20                                        FIRST CAUSE OF ACTION
21                                     RELIEF UNDER 42 U.S.C. §1983
22                     (By Sanai as Against Defendants and Does 1 through 10, inclusive)
23            51.      Plaintiff hereby incorporates by this reference paragraphs 1 through 50 as if set
24    forth in full.
25            52.      The proper Ex Parte Young defendant in a federal civil rights cause of action where
26    a Plaintiff seeks disclosure of evidence in a criminal case are the government lawyers. The
27    contempt proceedings in UGC have been directed by BENNETT with the assistance of NGUYEN,
28    who prepared the order initiating contempt proceedings on Judge Borenstein’s motion and
                                                          -17-
                                                  COMPLAINT
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  1
      appointed STAUB as Special Prosecutor. BENNETT (with the assistance of NGUYEN) directs
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      the activities of STAUB as Special Prosecutor and MCINTIRE on issues of discovery and
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      preventing challenges to Judge Borenstein’s actions on due process grounds in UGC.
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             53.     To the extent that the contempt proceedings are deemed to be criminal proceedings
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      or quasi-criminal proceedings under federal law, BENNETT, STAUB, NGUYEN and MCINTIRE
  6
      have directly denied, and conspired to deny, Sanai his rights under Brady v. Maryland. BENNET,
  7
      NGUYEN and MCINTIRE have also conspired to deny Sanai his right to obtain evidence, and
  8   under the Compulsory Process Clause from the state government’s records, and have prevented
  9   and are preventing Sanai from obtaining such evidence through statutory notices to appear and
10    subpoenas duces tecum. As MCINTIRE instructs Judge Borenstein how to rule, MCINTIRE in
11    effect denies Sanai this constitutional right. BENNETT, assisted by NGUYEN, in turns instructs
12    MCINTIRE what to say.
13           54.     To meet standards of due process, Sanai has the right to challenge judicial
14    decisions, and the participation of judicial officers in making decisions, if a reasonable person
15    would find a dangerous probability of a lack of impartiality. Defendants BENNETT, STAUB,
16    NGUYEN and MCINTIRE deny Plaintiff Sanai this right. As MCINTIRE instructs Judge
17    Borenstein how to rule as dictated by BENNETT (with some assistance from NGUYEN),
18    MCINTIRE in effect denies Sanai this constitutional right on his own.
19            55.    In addition to the rights applicable to a defendant in a federal criminal or quasi-
20    criminal proceeding, California law guarantees every defendant in a contempt proceeding the
21    same rights as a criminal defendant in California state court except as to jury trials, where the right
22    is more circumscribed. This includes the right to compulsory process under the federal and state
23    Compulsory Process clauses and the right to Brady disclosures and statutory criminal discovery.
24    California allows statutory criminal discovery, and California law allows a person to attack the
25    validity of an order in an contempt proceeding whether or not he has done so at an earlier time,, as
26    the California Supreme Court has rejected the “collateral bar rule”. Both United States Supreme
27    Court precedent and California precedent allow a person accused of contempt of court to raise the
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                                                        -18-
                                                  COMPLAINT
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  1
      defense that the underlying order was not constitutional for violation of substantive or procedural
  2
      constitutional rights.
  3
              56.     Defendants BENNETT, STAUB, NGUYEN and MCINTIRE deny Sanai his right
  4
      to equal protection of the law of California, treating Sanai as a “Class of One.” In particular, in
  5
      UGC Sanai is denied his right to Compulsory Process, his right to discovery under the Penal
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      Code, Brady disclosures, and the right to challenge the validity of the order he is accused of
  7
      violating on grounds that the judge and court which issued it would be deemed, by an impartial
  8   observer knowing all the facts, to be infected with a dangerous probability of a lack of
  9   impartiality.
10            57.     For a dozen years BENNETT, guided by Judge and now Justice Grimes (as to
11    whom he still claims to represent) sought to rig the Sanai v. Saltz case so that Sanai would lose it
12    at the trial court level. These efforts to date have been defeated by Justice Perluss of the Second
13    Appellate District, Division 7, to whose Court the case has been assigned since 2001. BENNETT
14    sought to have Sanai disbarred, but this failed due to the rulings of the Chief Judge of the State
15    Bar Court, who held the first part of the trial, dismissed all but one of the charges after the State
16    Bar prosecutor rested, and stayed proceedings on the remainder. Now BENNETT, instructing
17    NGUYEN, MCINTIRE and, indicrectly STAUB, are seeking to find Sanai guilty of contempt for
18    failing to pay sanctions under an order based on a fictional action that Sanai never took in UGC.
19    The conduct of BENNETT, STAUB, NGUYEN and MCINTIRE in UGC is arbitrary, capricious,
20    and taken with actual malice for purposes of harassing Sanai and is in complete bad faith.
21            58.     The award of sanctions to STAUB, their enforcement after STAUB ceased to
22    represent anyone in the litigation, and the contempt proceedings violate more than a dozen firmly
23    established rules of California’s substantive and procedural law. However, for purposes of this
24    lawsuit, SANAI only seeks damages and injunctive relief to require BENNETT, STAUB,
25    NGUYEN and MCINTIRE to provide Sanai with the discovery sought to defend the contempt
26    proceeding in UGC , and a temporary injunction upon the defendants to prosecute or take any
27    other action in the contempt proceedings in UGC until the relevant documents are provided.
28
                                                        -19-
                                                  COMPLAINT
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              59.     As STAUB has been appointed as a Special Prosecutor and thus has been given
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      rights to appear in a case in which he is no a party and not an attorney for a party, he acting under
  3
      color of state law. However, as he denies he has Brady obligations, he is not entitled to
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      prosecutorial immunity from damages. BENNETT and NGUYEN do not claim to be acting as
  5
      prosecutors or judges, so they lack immunity from damages for violations of civil rights.
  6
      MCINTIRE does not claim to be acting as a prosecutor or a judge—instead, he is acting as a
  7
      conduit to formally present arguments that STAUB cannot figure out on his own.
  8
  9

10                                          SECOND CAUSE OF ACTION
11                                          DECLARATORY JUDGMENT
12                    ((By Sanai as Against Defendants and Does 1 through 10, inclusive)
13                                           Does 1 through 10, inclusive)
14            60.     Plaintiff hereby incorporates by this reference paragraphs 1 through 50 and 52
15    through 57 as if set forth in full.
16            61.     Defendants BENNETT, STAUB, NGUYEN and MCINTIRE on behalf of the Los
17    Angeles County Superior Court in UGC deny that Sanai has the right to argue, or to obtain
18    evidence to support the argument, that the orders and proceedings of Judge Borenstein on grounds
19    that a reasonable observer with knowledge of the all the facts would conclude that the orders and
20    proceedings of Judge Borenstein show a dangerous probability of a lack of impartiality. Caperton
21    v. A.T. Massey Coal Co., Inc. (2009) 556 U.S. 868.
22            61.     Sanai seeks a declaratory judgment against BENNETT, STAUB, NGUYEN and
23    MCINTIRE that Sanai has right to attack Judge Borenstein’s orders, and his conduct of the
24    proceedings, on the grounds that there is a dangerous probability of a lack of impartiality and that
25    the statutory guarantees of impartiality under Code Civ Proc. §170.1 et seq. have been violated.
26            62.     Sanai also seeks such a declaratory judgment that under the equal protection clause
27    of the Fourteenth Amendment, Sanai has all the rights of criminal defendant in the contempt
28    proceedings in UGC, including exculpatory information held by the Superior Court and its agents,
                                                         -20-
                                                    COMPLAINT
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  1
      and held by Grimes, under Brady v. Maryland and the Compulsory Process Clause of the
  2
      Constitution.
  3
             62.      A declaratory judgment is a prerequisite to obtaining injunctive relief against state
  4
      court judges where such a judgment can be obtained at first. 42 U.S.C. §1983. Here, a
  5
      declaratory judgment can be obtained. Accordingly Sanai first seeks such a declaratory judgment.
  6
             63.      There is no Rooker-Feldman abstention applicable to a case where a party seek to
  7
      compel disclosure of evidence, even if such disclosure might effect a criminal court judgment.
  8   Skinner v. Switzer (2011) 562 U.S. 521.
  9          64.      There is no Younger Abstention because the defendants have explicitly contended,
10    and Judge Borenstein has ruled, that constitutional arguments regarding the absence of impartiality
11    of Judge Borenstein may not be raised to attack any of his prior rulings and no evidence may be
12    obtained to support such rulings. See Middlesex County Ethics Comm. v. Garden State Bar
13    Assn (1982) 457 U. S. 423, 432 (1982). Here Plaintiff is not seeking to halt the contempt
14    proceedings permanently, but rather to require that the proceedings give Sanai an adequate
15    opportunity to raise federal arguments. That means obtaining all evidence not subject to
16    California statutory privilege that supports Sanai’s contention that Sanai and his client have not
17    had an impartial tribunal.
18           65.      The second reason that there is no Younger abstention is that these proceedings
19    follow a pattern of bad faith harassment, in which BENNETT has attempted for over a decade to
20    use private legal proceedings as a cudgel to injure Sanai. BENNETT, on behalf of the Superior
21    Court, has repeatedly inserted himself into proceedings in Washington State and in the Superiro
22    Court, turning opposing counsel into his catspaws and appearing personally, or engaging litigation
23    counsel, to effectively become a party in several lawsuits.
24
25           WHEREFORE, Plaintiff Cyrus Sanai respectfully demand the following relief on behalf
26    of himself:
27
28
                                                        -21-
                                                  COMPLAINT
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  1
                                       On the First Cause of Action
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            1.     Damages of at least $100,000 against each of the Defendants;
  3
            2.     A temporary restraing order and preliminary injunction enjoining BENNETT,
  4
                   STAUB, NGUYEN and MCINTIRE and any successors thereto from prosecuting
  5
                   the contempt proceedings against Sanai pending disposition of this lawsuit;
  6
            3.     A permanent injunction requiring BENNETT, STAUB, NGUYEN and
  7
                   MCINTIRE, and any custodian of documents of the entities on whose behalf they
  8                act or have acted to disclose all documents relevant to the facts set forth above;
  9         4.     Pre-judgment interest; and
10          5.     Reasonable costs incurred in this action and attorney fees.
11
12                                   On the Second Causes of Action
13          1.     A declaratory judgment providing that Sanai has the right to obtain and present
14                 evidence and obtain testimony of judicial officers to attack the validity of any
15                 orders issued by any sate court judge regarding UGC; and
16          2.     Reasonable costs incurred in this action.
17
18    Dated: March 14, 2017
19
                              By: _/s/CYRUS SANAI______
20    _________________________________________
                                          CYRUS SANAI
21                                        SANAIS
22                                        In pro per.

23
24
25
26

27
28
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                                                COMPLAINT
